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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )
                                             )                  8:12CR70
       vs.                                   )
                                             )                   ORDER
GUILLERMO MONARREZ                           )
ALEX BRABLEC                                 )
YAJAIRA MONARREZ-ZENDEJAS                    )
ISRAEL MENDOZA,                              )

                     Defendant.


        This matter is before the court on the defendant Israel Mendoza’s motion to continue
trial [228] due the recently received discovery. For good cause shown,

       IT IS ORDERED that the motion to continue trial is granted, as follows:

       1. The jury trial now set for October 2, 2012 is continued to November 27, 2012.

        2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between today’s date and November 27, 2012, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act. Failure to grant a continuance would deny counsel for the defendant the
reasonable time necessary for effective preparation, taking into account the exercise of due
diligence. 18 U.S.C. § 3161(h)(7)(A) & (B)(iv).

       DATED September 18, 2012.

                                          BY THE COURT:

                                          s/ F.A. Gossett
                                          United States Magistrate Judge
